           Case 8:23-bk-10689-TA Doc 5 Filed 04/05/23 Entered 04/05/23 13:17:50                                      Desc
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                                         United States Bankruptcy Court
                                          Central District of California
In re:                                                            CHAPTER NO.:   7
Lisa Beth Hirsch
aka Lisa B. Hirsch M.D., aka Lisa Beth Hirsch                     CASE NO.:   8:23−bk−10689−TA

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

  Declaration by Debtor(s) as to Whether Income was Received From an Employer within 60 Days of the Petition Date [11 U.S.C. §
521(a)(1)(B)(iv)] (LBR Form F1002−1)

         Other (Specify):




The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                   Chapter 7   Original only

Please return the original or copy of this form with all required items to the following location:

                   411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: April 5, 2023                                                          For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form mccdn − Rev 02/2020)                                                                                               5 − 1 / TS
